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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBRA FRAZIER, et al.                        :       CIVIL ACTION
                                             :       DOCKET NO.: 2:17-cv-05421
                      Plaintiffs             :
                 v.                          :
                                             :
CITY OF PHILADELPHIA, et al.                 :       JURY TRIAL OF TWELVE (12)
                                             :       JURORS DEMANDED
                      Defendants.            :


                                        STIPULATION

        AND NOW, this 20th day of November, 2018, it is hereby STIPULATED and AGREED,

by and between all parties, by and through their undersigned counsel, that Plaintiffs’ deadline to

file their renewed Motion to Compel, if any, and Status Report, is enlarged to: November 28,

2018.



 /s/ Matthew B. Weisberg                         /s/ Christopher Rider
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        AND IT IS SO ORDERED.




                                                                                         ,J.
